                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                      Plaintiff,

               v.                                           Case No. 19-CR-2

ALEXANDER P. BEBRIS,

                      Defendant.


                                   ORDER LIFTING STAY


       The Judgment of Conviction having been affirmed, the stay of sentence entered by the

Court in the above matter is hereby VACATED. Defendant is to report to a correctional facility

designated by the Bureau of Prisons at the time and date instructed.

       SO ORDERED at Green Bay, Wisconsin this 9th day of August, 2021.

                                                     s/ William C. Griesbach
                                                     William C. Griesbach
                                                     United States District Judge
